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10                              UNITED STATES DISTRJCT COURT
                           DISTRJCT OF OREGON , PORTLAND DIVISION
11

12

13   JEREMY CONKUN, 0.0., an individual;

14
                             Plaintiff
15                                                     COMPLAINT
                     vs.                               FOR DAMAGES
16

17
     OREGON MEDICAL BOARD, an Oregon                JURY DEMAND
18   State Agency; Nicole Krishnaswami, an
     individual; Michael Seidel, an individual; and CONFIDENTIAL MATERIAL
19
     Walter Frasier, an individual, and et al.;
20
                             Defendants
21
            Dr. Jeremy Conklin, D.O. ("Plaintiff'), requests compensatory and punitive
22
     damages, injunction, Writ of Mandamus, attorney 's fees , and costs for the wrongful
23
     conduct of the Defendants as set forth below:
24

25

26


                                                                            Jeremy Conklin
                                                                        1414 101h Ave, Apt 734E
     COMPLArNT FOR DAMAGES - 1                                         Seattle, Washington 98122
                                                                             (570) 764-0102
                                                                        jhconklin@ icloud.com
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 2
                                             PARTIES
 3
            1. Dr. Jeremy Conklin, 0.0,, "Plaintiff', is a resident of the state of Washington.
 4
               He is an osteopathic physician and surgeon. In July 2018, Plaintiff started the
 5
               application process for an Oregon Medical License.
 6
            2. Defendant, Oregon Medical Board ("OMB") is an Oregon State Agency located
 7
               in Portland, Oregon. 0MB regulates the practice of medicine in the state of
 8
               Oregon. The 0MB knowingly and willingly participated in violations of 42
 9
               U.S.C. § 1983.
10
            3. Defendant, Ms. Nicole Krishnaswami is an individual residing in the state of
11             Oregon. Ms. Krishnaswami is the executive director of the 0MB. Ms.
12             Krishnaswami is an attorney licensed in Oregon, OSB #: 104293. Ms.
13             Krishnaswami knowingly and willingly participated in vio lations of 42 U.S.C. §
14              1983, which violated her Oregon State Bar Oath as described herein.
15          4. Defendant, Mr. Michael Seidel is an individual residing in the state of Oregon.
16             Mr. Seidel is an investigator with the 0MB. Mr. Seidel knowingly and
17             willingly participated in violations of 42 U.S.C. § 1983 as described herein.
18          5. Defendant, Mr. Walter Frasier is an individual residing in the state of Oregon.

19             Mr. Frasier is the inve tigations manager for the 0MB. Mr. Frasier knowingly

20             and willingly participated in violations of 42 U.S.C. § 1983 as described herein.

21
                                 VENUE AND JURISDICTION
22
            6. This Court has jurisdiction pursuant to federal question jurisdiction authorized
23

24   under 28 U.S .C. § 1331 for Plaintiff's claims against Defendants for violations of the

25   deprivation of any rights, privileges, or immunities secured by the United States

26   Constitution and United States Laws under 42 U.S.C. § 1983.


                                                                        Jeremy Conklin
                                                                    141410thAve, Apt734E
     COMPLAINT FOR DAMAGES - 2                                     Seattle, Washington 98122
                                                                         (570) 764-0 I 02
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            Venue is proper because the 0MB has offices m Portland, Oregon, and the
 2   defendants reside in the state of Oregon.
 3          7. Plaintiff provided a Notice of Claim with Oregon Risk Management,
 4              Department of Administrative Services.
 5
                                                 FACTS
 6
            8. In July 2018, Plaintiff applied for an Oregon Medical License to practice
 7
                medicine in Oregon at Providence Medford Medical Center as a locum tenens
 8
                physician through CompHealth.
 9
            9. A CompHealth employee, McKay McFarland, assisted Plaintiff with
10
                completing his Oregon Medical License Application.
11
            10. Ms. McFarland was told by the 0MB that because Plaintiff does not live or
12
                practice within 100 miles of the Oregon border that he does not qualify for an
13
                active Oregon Medical License.        However, because Plaintiff was performing
14
                Locum Tenens services in Oregon, he qualified for a Locum Tenens Oregon
15
                Medical License. See Exhibit AA (OAR 84 7-008-0020).
16
            11. Plaintiff submitted his application for an Oregon Medical License under the
17

18              status of Locum Tenens. On 5 Sept 2018, Plaintiff received a Notice of Civil

19              Penalty from the Oregon Medical Board.            See Exhibit BB (Notice of Civil

20              Penalty).   The notice stated Plaintiff violated Oregon Administrative Rule
                                                            l':



21              847-008-0058, and fined Plaintiff$ I 95 for incorrectly completing his Oregon

22              Medical License application. Plai~tiff's Oregon Medical License would not be

23              issued until the matter was closed.

24          12. The notice informed Plaintiff that he c9uld request a hearing before an Oregon

25              Administrative Law Judge. However, the notice also stated that in the event of
26              a hearing the 0MB would be seeking the costs associated with the hearing.

                                                                           Jeremy Conklin
                                                                       1414 10th Ave, Apt 734E
                                                                      Seattle, Washington 98122
     COMPLAINT FOR DAMAGES - 3
                                                                            (570) 764-0102
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           13 . Plaintiff submitted a motion to dismiss the civil penalty to the 0MB because
 2            Plaintiff's actions, erroneously completing his Oregon Medical Board
 3            Application, did not have the commensurate Mens Rea to conclude Plaintiff's
 4
              actions were Fraud or Misrepresentation under OAR 847-008-0058. The 0MB
 5
              ignored Plaintiff's motion to dismiss civil penalties. See Exhibit CC (E-mail
 6
              from 0MB).
 7
           14. To expedite issuance of his Oregon Medical License, so he could work m
 8
              Oregon, Plaintiff paid the $195 civil penalty.
 9
           15 . The 0MB issued Plaintiff a Locum Tenens Oregon Medical License on 12 Oct
10
              2018. See Exhibit DD (Oregon Locums Medical License).
11
           16. On 6 Oct 2020, the Oregon Medical Board sent Plaintiff a notice that he had not
12
              completed an Oregon Locum Tenens form to show that Plaintiff had worked in
13
              Oregon from 20I8-2019.
14
           17. Proof of employment as a physician in Oregon was required for Plaintiff to
15
              renew his Locum Tenens Oregon Medical License.
16
           18. Proof of employment as a physician in Oregon is not required for Oregon
17
              Medical License renewals for physicians who are residents of Oregon and have
18

19            an active Oregon Medical License.

20         19. Plaintiff had previously asked the board why he could not apply for an active

21            Oregon Medical License, so he would not need to submit proof of locum tenens

22            employment each year.

23         20. The 0MB responded that because Plaintiff did not live in Oregon, but

24            intermittently practiced medicine less than 240 days in Oregon every two years,

25            that Plaintiff was eligible for -a Locum Tenens Oregon Medical License and not
26

                                                                     Jeremy Conklin
                                                                 1414 l0 1hAve, Apt 734E
                                                                Seattle, Washington 98 122
     COMPLAINT FOR DAMAGES - 4
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              eligible for an Active Oregon Medical License. See Exhibit EE (E-mail form
 2            0MB refusing to provide active Oregon Medical License) .
 3         21. Plaintiff completed the Locum Tenens Assignment Form and submitted the
 4            Locum Tenens Assignment Form to the 0MB. As a result, Plaintiff's Locum
 5
              Tenens Oregon Medical License was renewed.
 6
           22. On 31 Jan 2024, the 0MB sent Plaintiff a notification that if he did not report a
 7
              locum tenens assignment in Oregon by 7 Feb 2024, his Oregon Locum Tenens
 8
              license would be changed to inactive.       See Exhibit FF (E-mail from 0MB
 9
              warning Plaintiff to submit proof of Locum assignment in Oregon).
10
           23 . On 8 Feb 2024, the 0MB changed Plaintiff's Locum Tenens Oregon Medical
11
              License to inactive status because Plaintiff had not reported any locum tenens
12
              assignments in Oregon.      See Exhibit GG (Notice inactivating Dr. Conklin's
13
              Oregon Medical License.)
14
           24 . On 5 Jun 2023 , Plaintiff was scheduled to perform a locums surgery assignment
15
              at Salem Hospital in Salem, OR.       Plaintiff was scheduled to work the night
16
              shift.
17

18         25 . During Plaintiff's first night, Plaintiff saw five patients who all required

19            emergency surgeries, Patient A, Patient B, Patient C, and Patient D. Plaintiff

20            attempted to schedule all patients for emergency s1:1rgery that evening.

21         26. Plaintiff was told by the Salem Hospital Operating Room ("OR") staff that

22            there were several cases already scheduled for the OR and that no operating

23            rooms, or teams to staff an operating room, were available.

24         27 . Plaintiff contacted one of the permanent surgeons who worked at Salem

25            Hospital , Dr. Patrick O' Herron, and explained to Dr. O' Herron that he could not
26            get all the emergent cases to the operating room. Dr. O' Herron recommended

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               having the cases scheduled for the next morning.            See Exhibit HH (Text
 2             messages to and from Dr. Patrick O'Herron).
 3         28. Delay in operating on Patient B led to Patient B's death.
 4
           29. Plaintiff was able to schedule one of his cases, Patient A, who had an
 5
               incarcerated left inguinal hernia. Because it was Plaintiff's first night working
 6
              at Salem Hospit~l , Plaintiff was required to be proctored for his first case.
 7
           30. Dr. Carrie Allison proctored Plaintiff's left inguinal hernia case.
 8
           31 . During the case Dr. Allison disagreed with Plaintiff's pre-operative, and
 9
              operative management of the Patient A. As a result of the disagreements Dr.
10
              Allison asked Plaintiff to leave the operating room in the middle of the case, so
11
              Dr. Allison could complete the case.
12
           32. On 6 Jun 2023 , Plaintiff filed a Disruptive Physician Complaint against Dr.
13
              Allison, with the Salem Health Medical Director and Salem Health CEO,
14
              because Dr. Allison interfered with Plaintiff's treatment of Patient A.           See
15
              Exhibit II (E-mail to Salem Hospital Medical Director for Disruptive Physician
16
              Complaint).
17

18         33. On 6 Jun 2023 , Salem Hospital cancelled Plaintiff's locum tenens assignments.

19         34. Plaintiff's contract stated that to cancel Plaintiff's shifts, Salem Hospital must

20            provide at least 30 days' notice of the cancellation. If Salem Hospital did not

21            provide at least 30 days' notice, then Salem Hospital was responsible for paying

22            Plaintiff for the cancelled shifts.

23         35. If Salem Hospital showed Plaintiff was a danger to patients, then Salem

24            Hospital could cancel Plaintiff's shifts at any time without 30 days' notice and

25            would not be required to pay for Plaintiff's cancelled shifts.
26


                                                                         Jeremy Conklin
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           36. Salem Hospital cancelled Plaintiff's sh ifts on 6 Jun 2023 , which is less than 30
 2            days ' notice.   Therefore, Salem Hospital was contractually obligated to pay
 3            Plaintiff for the remainder of his sh ifts , 5 Jun 20243 - 9 Jun 2023 .
 4         37. Salem Hospital refused to pay Plaintiff for the shifts it cancelled from 5 Jun to
 5
              9 Jun 2023 .
 6
           38. On 5 Jul 2023 , Plaintiff received notice of a complaint from the 0MB .
 7
           39. The 5 Jul 2023 0MB Complai lilt alleged Plaintiff prov ided med ically
 8
              incompetent care and acted in an unprofessional and dishonorable manner. See
 9
              Exhibit JJ (0MB complaint sent to Dr. Conklin).
10
           40. On 16 Jul 2023 , Plaintiff responded to the 0MB. See Exhibit KK (Or. Conklin
11
              16 Jul 2023 response to 0MB 5 Jul 2023 complaint, followed by 20 Sept 2023
12
              e-mail asking for specific allegations) .
13
           41. On 6 Oct 2023 , the Salem Hospital Peer Review Committee reviewed the
14
              treatment of Patient A, Patient B, Patient C, and Patient D.
15
           42. The Salem Hospital Peer Review Comm ittee revie'Yed the care Plaintiff
16
              provided to the same patients the 0MB alleged that Plaintiff provided
17

18            medically incompetent care and behaved in an unprofessional and dishonorable

19            manner.

20         43. The Salem Hospital Peer Review Committ_ee concluded there were no standards

21            of care deficiencies with Plaintiff's care, and care was provided in a

22            professional and honorable manner.          See Exhibit 00 (Salem Hospital Peer

23            Review Results) .

24         44. On 6 Oct 2023, Plaintiff passed and completed the renewal of his General

25            Surgery Board Certification through the American Osteopathic Board of
26

                                                                         Je remy Conklin
                                                                     141 4 10th Ave, Apt 734E
                                                                    Seattle, Washington 98122
     COMPLAINT FOR DAMAGES - 7
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 1            Surgery, AOBS, General Surgery Longitudinal Assessment. See Exhibit PP (E-
 2            mail from AOA regarding ABOS pass).
 3         45 . Passage of the AOBS Longitudinal Assessment is required for Board
 4
              Certification in General Surgery.
 5
           46. By successfully completing the AOBS Longitudinal Assessment the Plaintiff
 6
              renewed his General Surgery Board Certification, which showed the Plaintiff
 7
              has the knowledge and skills needed to provide safe and effective care in a
 8
              specific area of surgery. It is a credential that patients can rely upon when
 9
              selecting a doctor for their needs.
10
           47. On 6 Dec 2023 , after receiving specific allegations regarding incompetent
11
              medical care from the 0MB, Plaintiff submitted a detailed summary of his
12
              actions to the 0MB. See Exhibit LL (Dr. Conklin 's Detailed Summary).
13
           48. On 7 Jun 2024, Plaintiff received an Order for Evaluation and Qualified
14
              Protective Order from the 0MB.        The Order for Evaluation and Qualified
15
              Protective Order directed the Plaintiff to undergo evaluation by the Center for
16
              Professionalized Education for Professionals in Colorado and an Acumen
17

18            Assessment in Kansas.      The evaluations were at the Plaintiff's own expense.

19            See Exhibit MM (0MB Order for Evaluation).

20         49. On 4 Sept 2024, the 0MB requested Plaintiff attend an in-person interview at

21            the 0MB Office in Portland, OR. Plaintiff agreed to a Zoom interview because

22            Plaintiff lived in Seattle, WA. See Exhibit NN (E-mails between 0MB and Dr.

23            Conklin).

24         50. The 0MB refused to provide Plaintiff Zoom interview accommodations and

25            required Plaintiff to attend an in-person interview in Portland on 5 Dec 2024.
26


                                                                      Jeremy Conklin
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           51. On 3 Jun 2025 , 0MB issued a Notice of Proposed Disciplinary Action to the
 2            Plaintiff. The Notice of Proposed Disciplinary Action contained allegations not
 3             based in fact from the medical records. The allegations in the Notice of
 4            Proposed Disciplinary Action were not judged against the standard of care. See
 5
              Exhibit XX (Notice of Proposed Disciplinary Action).
 6

 7
                                                CLAIMS
 8
                                         First Cause ofAction:
 9

10                Violation of 42 U.S. C. § 1983 - Violation of Right of Due Process

11                                     (Against all Defendants)
12         52. Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as

13            though fully set forth herein .

14         53 . 0MB violated Plaintiff's U.S. Constitutional 14th Amendment Right of Due

15            Process by refusing to provide Plaintiff:

16                a. An unbiased tribunal.

17                b. Notice of the proposed action and the ground asserted for it.

18                c. Opportunity to present reasons why the proposed action should not be

19                    taken.

20                d. The right to present evidence, including the right to call witnesses.

21                e. The right to know opposing evidence.

22                f. The right to cross-examine adverse witnesses.

23                g. A decision based exclusively on the evidence presented.

24                h. Requirement that the tribunal prepare a record of the evidence

25                    presented.

26


                                                                        Jeremy Conklin
                                                                    141 4 10 th Ave, Apt734E
                                                                   Seattle, Washington 98122
     COMPLAINT FOR DAMAGES - 9
                                                                         (570) 764-0 I 02
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                  1.   Requirements that the tribunal prepare written findings of fact and
 2
                       reasons for its decision .
 3
           54. On 5 Jul 2023 , the 0MB sent the Plaintiff a letter requesting a summary report
 4
              for allegations that the Plaintiff provided medically incompetent care and acted
 5
               in an unprofessional and dishonorable manner.
 6
           55. The letter did not describe what care was medically incompetent,
 7
              unprofessional, or dishonorable.
 8
           56. The letter did not state which patients received medically incompetent,
 9
               unprofessional, or dishonorable care. The letter failed to provide adequate
10            notice. (See Exhibit JJ.)
11         57. Plaintiff complied with OMB 's requests for a detailed summary of care for
12            patients: Patient A, B, C, and D on 6 Dec 2023 , after the 0MB provided some
13            details regarding alleged incompetent care.
14         58. On 7 Jun 2024, the 0MB issued an order that Plaintiff undergo evaluation by
15            the Center for Professional Education for Professionals in Colorado, specific to:
16            General Surgery with emphasis on trauma and other acute presentations at
17            Plaintiff's own expense. (See Exhibit MM.)
18         59. On 7 Jun 2024, the 0MB issued an order that Plaintiff undergo Acumen

19            Assessments in Kansas at Plaintiff's own expense. (See Exhibit ZZ.)

20         60. The 0MB required the evaluation by the Center for Professional Education for

21            Professionals be completed within 150 days of the 7 Jun 2024 order.

22         61 . The 0MB required the Acumen evaluation to be completed within 90 days of

23            the 7 Jun 2024 order.

24         62. The Plaintiff was required to pay for the evaluations, which in total would cost

25            over $10,000.00 plus cost of travel, lodging, and lost work.

26


                                                                       Jeremy Conklin
                                                                   14 14 10th Ave, Apt 734E
     COMPLAINT FOR DAMAGES - 10                                   Seattle, Washington 981 22
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           63 . The 0MB order did not provide the Plaintiff reasons why the proposed
 2
              evaluations were necessary, or the grounds asserted for the evaluations.
 3
           64. The 0MB order did not provide the Plaintiff the right to know evidence
 4
              asserted for ordering the evaluations.
 5
           65. The OMB 's order did not provide the Plaintiff the right to call witnesses to
 6
              refute any of the OMB 's allegations.
 7
           66. The 0MB did not provide the Plaintiff the right to cross examine adverse
 8
              witnesses who provided information for the OMB 's evaluation order.
 9         67. The 0MB did not provide the Plaintiff the right to an unbiased tribunal.
IO         68. The executive director, Nicole Krishnaswami, issued the order, instead of an
11            unbiased tribunal.
12         69. The 0MB did not prepare a record of the evidence presented or use a record of
13            the evidence presented when issuing its evaluation order.
14         70. The 0MB did not prepare a written finding of facts and reasons for its decision
15            to order Plaintiff to be evaluated.
16         71 . On 6 Oct 2023 , the Salem Hospital Peer Review Committee reviewed the cases
17            of Patient A, B, C and D, who were the patient's Plaintiff treated, which 0MB
18            claimed Plaintiff provided incompetent medical care. The Salem Hospital Peer

19            Review Committee found no standards of care were breached and no care was

20            provided in an unprofessional or dishonorable manner. The Salem Hospital

21            Peer Review Committee conclusions did not recommend any changes to the

22            Plaintiff's privileges or credentials. [fthe Plaintiff's practice of medicine was

23            egregious as the 0MB claims, why did not the Salem Hospital Peer Review

24            Committee recommend changes to the Plaintiff's privileges and credentials?

25

26


                                                                       Jeremy Conklin
                                                                   141 4 10th Ave, Apt 734E
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           72. On 6 Oct 2023, the Plaintiff successfully completed General Surgery Board Re-
 2
              Certification with the American Board of Osteopathic Surgery Longitudinal
 3
              Assessment, which is required for continued AOA Board Certification.
 4
           73. AOA Board Certification for physicians is a voluntary credential that
 5
              demonstrates a physician's knowledge and skills in surgery.
 6
           74. AOA Board Certification is a way for physicians to show their commitment to
 7
              lifelong learning, high professional standards, and providing safe and quality
 8
              care.
 9         75. In Irland v. Iowa Board of Medicine , 939 NW 2d 85 - Iowa: Supreme Court,
10            2020, the Iowa Board of Medicine ordered Dr. Irland to complete a
11            comprehensive clinical competency evaluation in a letter issued to Dr. Irland.
12            The Iowa Supreme Court held "The Board lacks the statutory authority to
13            impose discipline without finding probable cause of a violation and without
14            giving the physician an opportunity to challenge the alleged violation."
15         76. The 0MB violated Plaintiff's U.S. Constitutional 14th Amendment Right of
16            Due Process when the 0MB ordered Plaintiff to undergo Center for
17            Personalized Education for Professionals in Colorado and Acumen Assessment
18            in Kansas, which deprived the Plaintiff of property, without affording the

19            Plaintiff due process.

20         77. OMB's Order for Evaluation violates 42 U.S.C §1983.

21         78. Because of OMB 's violation of 42 U.S.C. § 1983, Plaintiff has been damaged in

22            an amount to be proven at trial.

23         79. Monroe v. Pape, 365 U.S . 167 (1961) held that state officers who violated

24            Plaintiff's Constitutional Rights can be sued under 42 U .S.C. § 1983 .

25         80. Each of the Defendants is jointly and severally liable for Plaintiff's damages.

26


                                                                      Jeremy Conklin
                                                                   1414 J0•h Ave, Apt 734E
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           81. The Court should issue a declaratory judgment that Defendant's action
 2
               constitutes violations of 42 U.S .C. § 1983.
 3
           82. The Court should issue a preliminary injunction preventing the OMB 's
 4
               investigation into Plaintiff from progressing until the instant case has been
 5
               adj udicated.
 6
           83. The Court should also issue a permanent injunction appointing a Special Master
 7
               to observe all 0MB investigations and punitive actions for 5 years, funded by
 8
              the 0MB. The Special Master will ensure the 0MB is providing due process in
 9
              all investigati ve and punitive actions.
10

11                                  Second Cause ofAction:
12        Violation of 42 U.S.C. § 1983 - Violation of Privileges and Immunities Clause of
                                          U.S. Constitution
13                         (Against 0MB and Ms. Nicole Krishnaswami)
14         84. Plaintiff re-alleges the facts as set forth in paragraphs 1-5 I of his Complaint as

15            though fully set forth herein.

16         85 . On 17 Jun 2019, Plaintiff sent 0MB a letter inquiring about obtaining an Active

17            Oregon Medical License.

18         86. Plaintiff had been issued a Locum Tenens Oregon Medical License in 2018.

19         87. On 21 Jun 2019, 0MB replied to Plaintiff's letter inquiring about obtaining an

20            Active Oregon Medical License.

21         88. 0MB stated that Plaintiff was not eligible for an Active Oregon Medical

22            License because the Plaintiff did not live in Oregon, or regularly practice

23            medicine in Oregon.

24         89. In its response, 0MB referred to language from the OMB's Statement of

25            Purpose, "Recognized that to practice medicine is not a natural right of any

26            person, but is a privilege granted by legislative authority, it is necessary, in the


                                                                         Jeremy Conklin
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 1
               interests of health, safety, and welfare of the people of this state to provide for
 2
               granting of that privilege and the regulation of it use .. ."
 3
           90. On 31 Jan 2024, the 0MB sent Plaintiff a final reminder e-mail that if the
 4
               Plaintiff did not submit proof of Locums Tenens assignments in Oregon by 7
 5
              Feb 2024, the Plaintiff's Oregon Medical License would be placed in inactive
 6
              status.
 7
           91. On 8 Feb 2024, the Plaintiff received a letter from Ms. Nicole Krishnaswami,
 8
              Executive Director of the 0MB, inactivating Plaintiff's Oregon Medical
 9
              License.
10
           92. The Privileges and Immunities Clause of the U.S. Constitution provides that
11            citizens of one state are entitled to equal treatment with citizens of other states.
12         93 . The State of Oregon cannot treat citizens of one state differently than citizens of
13            Oregon.
14         94. Furthermore, the U.S. Supreme Court held that "[O]ne of the privileges which
15            the Clause guarantees to citizens of State A is that of doing business in State B
16            on terms of substantial equality with the citizens of that State. " Supreme Court
17            of N H v. Piper, 470 U. S. 2 74(1985).
18         95 . The 0MB refused to provide Plaintiff an Active Oregon Medical License
19            because the Plaintiff was not a citizen of Oregon.

20         96. The 0MB treated Plaintiff differently than Oregon citizens because the Plaintiff

21            did not reside in Oregon.

22         97. On 8 Feb 2024, the 0MB inactivated Plaintiff's Oregon Locum Tenens Medical

23            License because Plaintiff did not work the requisite shifts as a physician in

24            Oregon. Physicians who reside in Oregon do not have to report the number of

25            shifts they have worked to prevent their Oregon Medical Licenses from being

26            inactivated.


                                                                           Jeremy Conklin
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           98. The OMB 's disparate treatment of the Plaintiff, with respect to issuing an
 2
              Active Oregon Medical License, and inactivating the Plaintiff's Oregon Locum
 3
              Tenens Medical License violated the Plaintiff's U.S. Constitution's Privileges
 4
              and Immunities Clause Rights.
 5
           99. Violation of Plaintiff's U.S. Constitution's Privileges and Immunities Clause
 6
              Rights violates 42 U.S.C. § 1983.
 7
           JOO.Because ofOMB's violation of 42 U.S.C . § 1983 , Plaintiff has been damaged
 8            in an amount to be proven at trial.
 9         IOI.Monroe v. Pape, 365 U.S . 167 (1961) held that state officers who violated
10            Plaintiff's Constitutional Rights can be sued under 42 U.S.C. § 1983 .
11         102.0MB and Ms. Nicole Krishnaswami, are jointly and severally liable for
12            Plaintiff's damages.
13         103.The Court should issue a declaratory judgment finding that Defendant's action
14            constitutes violations of 42 U.S.C. § 1983.
15         104.The Court should issue a permanent injunction preventing the 0MB from
16            treating physicians who are not residents of Oregon differently than physicians
17            who are residents of Oregon.

18

19
                                          Third Cause ofAction:
20
             Violations of 42 U.S. C. § 1983 Violation of U.S. Constitution 14th Amendment
21          Due Process, Equal Protection, and Violation of Oregon Revised Statute 31.230
                                    Wrongful Use of Civil Proceeding.
22

23
           105.0n 3 Jun 2025, the 0MB submitted a Notice of Proposed Disciplinary Action
24
              to the Plaintiff.
25
           106.The Notice of Proposed Disciplinary Action makes allegations not supported
26
              by facts in the medical records and contradicts the medical record.

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              107.The Notice of Proposed Disciplinary Action proposes to sanction Plaintiff by
 2
                   revoking Plaintiff's Oregon Medical License, and fine Plaintiff $10,000 per
 3
                   violation not to exceed $100,000.
 4
              108.0MB alleges that Patient A was on multiple medications that inhibited clotting,
 5
                   placing Patient A at higher risk of bleeding. 0MB alleges that Plaintiff did not
 6
                   consent Patient A for a blood transfusion prior to surgery considering Patient
 7
                   A's increased risk of bleeding.
 8
              I 09.Plaintiff counseled Patient A regarding risks of bleeding, which was
 9                 documented in Plaintiff's consult note. (See Exhibit YY - History and Physical

                   Exam for Patient A.)
11   The pt was informed that the surgery was necessary to preserve his bowel from becoming ischemic and necrotic.
     The pt was informed that the surgery would be an open surgical procedure, much different than his prior right
12   inguinal hernia repair. Due to the severity of the pt's left hernia, the pt was advised that the surgery may involve
     resection of bowel , a counter incision in his midline abdomen , and possible colostomy. The pt was advised that
     because he is taking Plavix for his coronary stents that he has a higher risk of bleeding, and it is possible that the pt
13
     may need blood products. The pt was also advised that he has a risk of infection due to his smoking and diabetes,
     which increase his risk of surgical site infection. The pt understood all the risks. The benefit of the procedure would
14   be to reduce incarcerated bowel and repair the hernia defect. The pt understood the benefits. The pt agreed to
     proceed with surgery.
15
     This procedure has been fully reviewed with the patient, and written informed consent has been obtained.

16

17
     Patient A's History and Physical 5 Jun 2023 performed by Dr. Jeremy Conklin.
18
              11 0.Plaintiff consented Patient A to recei ve a blood transfusion on the surgical
19
                   consent form (See Exhibit QQ - Surgical Consent for Patient A). Please notice
20
                   that the check box on the surgical consent is not marked for " I refuse
21
                   administration of part, or all blood and blood products as documented on the
22
                   Refusal of Blood Transfusions Release of Liability Form." Because the check
23
                   box was not checked the patient agreed to "It was also explained to me that
24
                   there are possible risks involved with blood/blood product transfusion. I
25
                   understand the risks and consent to the administration of blood/blood products
26
                   if medically necessary and ordered by my physician."
                                                                                            Jeremy Conklin
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 2

 3

 4

 5   Patient A's Surgical Consent Form 5 Jun 2023.
 6          111.0MB alleges that Plaintiff failed to prepare blood products by obtaining a type
 7             and screen or cross for blood products prior to Patient A's surgery. Patient A
 8             underwent emergency surgery to save his life. Waiting for the results of a type
 9             and screen or cross would have delayed Patient A's surgery placing Patient A at
10             higher risk for death or disability. For emergency surgery, in which bleeding
11             occurs, the hospital has universal donor blood that can be administered

12             immediately. The 0MB was aware of this fact and neglected to consider these

13             facts to intentionally injury Plaintiff.

14          112.During Patient A's Surgery Dr. Carrie Allison ordered platelets and

15             Desmopressin to counter act Patient A's anti -platelet medications of Plavix and

16             Aspirin. Plaintiff told Dr. Allison that administering platelets and

17             Desmopressin would not reverse the effects of Plavix and only waste the

18             valuable resource of platelets and expose the patient to a possible transfusion

19             carried infection.

20          113.0MB alleged that Plaintiff ordered deep venous thrombosis (DVT) prophylaxis

21             of heparin after Patient A's surgery. 0MB alleges that DVT prophylaxis placed

22             the patient at risk of increased bleeding.

23          114.The Padua Prediction Score for Risk, of Venous Thromboembo li sm (VTE) is a

24             tool to estimate the risk of VTE in hospitalized patients. The Padua Score has

25             been validated through multiple peer reviewed studies. Patient A had reduced

               mobility, recent surgery (hernia surgery), Heart Failure, and recent myocardial
26

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              infarction, which gave the patient a Padua Score of 7. A Padua Score of 7 is
 2
              high risk for VTE and pharmacologic prophylaxis is indicated. Patient A was
 3
              placed on DVT prophylaxis of heparin as recommended by the Padua Score per
 4
              the standard of care. The 0MB was aware of this fact and neglected to consider
 5
              these facts to intentionally injury Plaintiff.
 6
           115.Plaintiff consented Patient A for hernia repair surgery. Plaintiff's name was on
 7
              the surgical consent form. The Plaintiff's first night was 5 Jun 2023. Because 5
 8
              Jun 2023 , was Plaintiff's first night, Plaintiff was required to be proctored by
 9
              Dr. Carrie Allison . Dr. Allison disagreed with Plaintiff's hernia repair technique
10            and contravened several of Plaintiff's operative decisions. Dr. Allison
11            interfered with Plaintiff's operation. Eventually, Dr. Allison asked Plaintiff to
12            leave the operating room so Dr. Allison could complete Patient A's hernia
13            repair. So as not to upset the operating room team, Plaintiff removed himself
14            from the surgery. Plaintiff immediately filed a Disruptive Physician complaint
15            against Dr. Allison with Salem Hospital Medical Director and Salem Health
16            CEO (See Exhibit II - Letter to CEO Disruptive Physician).
17         116.Dr. Allison 's name was not on the surgical consent. Thus, Patient A never gave
18            Dr. Allison permission to operate on him . Because Dr. Allison did not have
19            consent to operate on Patient A, and Dr. Allison operated on Patient A, Dr.

20            Allison committed battery upon Patient A. The 0MB did not investigate or

21            pursue disciplinary action against Dr. Allison. The 0MB was aware of this fact

22            and neglected to consider these facts to intentionally injury Plaintiff.

23         117.The 0MB alleges Plaintiff ordered Golytely, a bowel preparation medication,

24            for Patient B, who had a perforated duodenal ulcer.

25         118.The 0MB alleges upon entering Patient B's abdomen the surgeon, Dr.

26            VanDerHeyden, found the peritoneal space to be filled with GoLytely.


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                 119.Patient B's Medication Administration Record (MAR) shows that Patient B
 2
                      received no GoLytely on 5 Jun 2023. (See Exhibit RR - MAR Patient B).
 3
                      Furthermore, Patient B's MAR shows that Plaintiff discontinued Patient B's
 4
                      GoLytely, which Dr. Webber, Patient B 's physician ordered.
 5
     polyethylene RIYcol ..lectrolvte (Golvtely) oral liquid 4,000 ml 12112404751
       Ordering Provider: Webber, Sarah N, MD                                Status: Discontinued (Past End Date!Time)
 6     Ordered On: 06/05123 2038                                             Starts/Ends: 06105/23 2130 • 06/05/23 2221
       Ordered Dose (Remaining/Total): 4,000 ml (1/1)                        Route: Oral
       Frequency: ONCE                                                       Ordered Rate/Order Duration: - / -
 7     Admin Instructions: Have palienl drink as tolerated gradually over time, do not force over a certain period of time per surgery.

         Timestamps            Action/         Dose                          Route                          Other Information
 8                          Reaaon
        Performed 06/05/23 Held               0 ml                          Oral                           Performed by: Lyon, Gisselle, RN
        2130               Other (add                                                                      Comments: TRACS MD at bedside,
 9      Documented:        comment)                                                                        per MD hold Golytely
        06/05/23 21 29
10

11
     Patient B's Medication Administration Record (MAR) 5 Jun 2023.
12              120.Dr. VanDerHeyden's Operative Note stated, "Upon entry a large amount of
13                    fluid and gas was encountered." (See Exhibit SS - Operative Note for Patient
14                    B). There is no mention of finding GoLytely in the Operative note.
15

16     A midline incision was made from the xiphoid to the pubis and carried through to the fascia in a routine
       fashion. Upon entry a large amount of fluid and gas was encountered, this was suctioned out. The ulcer was
17     almost immediately visualized and succus was pouring out so an NGT was placed with suctioning of 500 ml
       of clear yellow fluid. The ulcer was packed with a lap and the remaining abdomen explored and no other
18     abnormalities noted. There was a large amount of fibrinoupuru lent debris below the diaphragm bilaterally
       and in the pelvis .
19

20
     Patient B 's Operative Note 6 Jun 2023 , by Dr. VanDerHeyden.
21
                121.Patient B was on a full liquid diet until 5 Jun 2023. Patient B was ordered Nil
22
                      Per Os (NPO) on 5 Jun 2023. Thus, the only oral intake Patient B had prior to
23
                      surgery was a full liquid diet. It is likely that the fluid encountered upon
24
                      entering Patient B's abdomen was fluid from his full liquid diet. Dr.
25
                      VanDerHeyden did not document finding GoLytely in Patient B 's abdomen.
26


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 1
              The 0MB was aware of this fact and neglected to consider these facts to
 2
              intentionally injury Plaintiff.
 3
           122.On 5 Jun 2023 , Plaintiff had 4 patients that required emergency surgery.
 4
              Plaintiff attempted to schedule all 4 patients for surgery on 5 Jun 2023. The
 5
              operating room staff told Plaintiff that the operating room was full and that
 6
              there was room for only one of Plaintiff's 4 emergency surgery cases. The
 7
              operating room staff told Plaintiff that Plaintiff's other cases would have to wait
 8
              until 6 Jun 2023 .
 9         123.Plaintiff contacted Dr. Patrick O' Herron . Dr. O' Herron was a full time surgeon
10            at Salem Hospital who gave Plaintiff his phone number and advised Plaintiff to
11            contact him if the Plaintiff had any issues or questions. Plaintiff contacted Dr.
12            O' Herron and advised Dr. O' Herron that Plaintiff had 4 patients requiring
13            emergency surgery, but the operating room only had capacity to perform I case.
14         124.Dr. O' Herron recommended performing one emergency surgery and
15            scheduling the 3 other emergency surgery cases for the morning of 6 Jun 2023.
16            (See Exhibit HH - Text messages with Dr. O' Herron) .
17         125.Plaintiff scheduled Patient A for emergency surgery on 5 Jun 2023 , and Patient

18            B, Patient C, and Patient D for 6 Jun 2023 . Because Plaintiff could not take

19            Patient B to the operating room on 5 Jun 2023 , Patient B's surgery was delayed

20            until 6 Jun 2023 . The 0MB was aware of this fact and neglected to consider

21            these facts to intentionally injury Plaintiff.

22         126.Patient B presented to Salem Hospital for shortness of breath. Patient B had

23            idiopathic lung fibrosis and required supplemental oxygen to maintain his

24            oxygen saturations. Patient B was being treated with high dose corticosteroids

25            for his idiopathic pulmonary fibrosis . Patient B was scheduled for a lung

26            biopsy on the morning of 5 Jun 2023. Prior to surgery Patient B developed


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                      severe abdominal pain. Patient B's surgery was cancelled, and Patient B's
 2
                      physician, Dr. Webber, ordered a STAT computed tomography scan (CT scan)
 3
                      of the abdomen and pelvis on 5 Jun 2023 around 0950 hrs . At 1100 hrs the CT
 4
                      scan was completed. Dr. Webber never looked at the CT scan or contacted
 5
                      radiology to review Patient B's CT scan, even though Dr. Webber ordered the
 6
                      CT scan as STAT. At 2044 hrs on 5 Jun 2023, Dr. Webber learned the results of
 7
                      Patient B's CT scan. Patient B's CT scan showed a perforated duodenal ulcer.
 8
                127.The standard of care for the treatment of a perforated duodenal ulcer is
 9                    immediate surgical repair. Because the operating room did not have capacity to
10                    perform emergency surgery, Patient B had to wait until 6 Jun 2023 to receive
11                    the surgery. Patient B had a perforated duodenal ulcer for over 24 hrs before he
12                    underwent surgical repair. The mortality increases for patients with perforated
13                    duodenal ulcers as the time to surgery increases. 1 Because Salem Hospital had
14                    no operating room capacity for emergency cases on 5 Jun 2023, Patient B's
15                    surgery was delayed until 6 Jun 2023. Patient B died on 26 Jun 2023 , from
16                    complications of his duodenal ulcer. The delay in surgery likely contributed to
17                    Patient B's death . The 0MB did not investigate the Anesthesiologist and
18                    operating room staff who declined Patient B access to the operating room on 5

19                    Jun 2023. The 0MB did not investigate Salem Hospital 's lack of operating

20                    room resources on 5 Jun 2023 , which contributed to Patient B's death . The

21                    0MB did not investigate why Salem Hospital did not go on diversion if the

22                    hospital could not offer emergency surgery on 5 Jun 2023. The 0MB did not

23                    refer the incident to the appropriate regulatory authority if the 0MB did not

24                    have jurisdiction to investigate Salem Hospital's lack of operating room

25

26   1 Buck. D. L.. Vester-Andersen. M., & M0lle r, M. H. (2013). Surgica l delay is a critical determinant of
     survival in perforated peptic ulcer. Journal of British Surgery, 100(8), 1045-1049.

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                  resources. The 0MB was aware of these facts and neglected to consider these
 2
                  facts to intentionally injury Plaintiff.
 3
              128.Patient B was on high dose corticosteroids to treat his idiopathic pulmonary
 4
                  fibrosis . Corticosteroids inhibit healing of wounds, specifically corticosteroids
 5
                  inhibit the healing of bowel anastomosis. Dr. VanDerHeyden operated on
 6
                  Patient B and repaired his perforated duodenal ulcer , which is bowel surgery.
 7
                  Dr. VanDerHeyden continued Patient B's high dose steroids.
 8
              129.High dose Vitamin A is given to patients on corticosteroids who have
 9
                  undergone bowel surgery to aid in bowel healing by counteracting the anti-
10                inflammatory effects of corticosteroids. A study in The American Journal of
11                Surgery found that Vitamin A prevented intestinal dehiscence in patients on
12                corticosteroids who underwent intestinal anastomosis.2 Dr. VanDerHeyden
13                never ordered high dose Vitamin A for Patient B.
14            130.Patient B was discharged from Salem Hospital after repair of his perforated
15                duodenal ulcer on 16 Jun 2023. Patient B returned to the Salem Hospital on 24
16                Jun 2023 , with hypotension and tachycardia. A CT scan showed Patient B to
17                have a perforated duodenal ulcer.
18            131 .On 24 Jun 2023 , Patient B underwent esophagogastroduodenoscopy (EGO).

19                The EGO showed "In the proximal duodenal bulb large deep ulcer with

20                exposed sutures indicating that this was a prior perforated ulcer that was

21                surgically repaired 6/6/23 . It appears that the sutures and connection have come

22                undone but there was not an obvious perforation." It was later determined that

23                there was a perforation, which occurred due to dehiscence of the omental patch,

24                Dr. VanDerHeyden placed. Because Patient B was on corticosteroids and

25
     2 Phillips, J. D., Kim, C. S., Fonkalsrud, E. W. , Zeng , H., & Dindar, H. (1 992). Effects of chron ic
26   corticosteroids and vita min A on the healing of intestinal anastomoses. The American j ournal of
     surgery, 163(1) , 71-77.
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              because Patient B did not receive Vitamin A to assuage dehiscence, Patient B's
 2
              prior omental patch underwent dehiscence.
 3
           132.Patient B expired on 26 Jun 2023 due to sepsis from his perforated duodenal
 4
              ulcer. The delay in surgical treatment on 5 Jun 2023 , and Patient B not being
 5
              administered Vitamin A to counteract the effects of his corticosteroids upon
 6
              intestinal healing contributed to the death of Patient B.
 7
           133 .OMB has not investigated the delay of Patient B's surgical treatment on 5 Jun
 8
              2023 . 0MB has not investigated why Dr. VanDerHeyden did not administer
 9            Vitamin A. The 0MB was aware of all of these facts , yet neglected to consider
10            these facts to intentionally injury Plaintiff.
11         134.0MB alleges Plaintiff delayed the care of Patient C and mismanaged the
12            treatment of the patient with respect to prior surgery and electrolyte
13            abnormalities . Patient Chad a surgical abdomen because Patient Chad
14            ischemic bowel , which was leaking potassium from dead cells. Patient C had a
15            hernia, which was strangulating Patient C 's bowel , preventing blood flow into
16            the bowel , which resulted in bowel death.
17         135.Plaintiff quickly saw Patient C in the Emergency Room at the request of the

18            Emergency Room physician. Plaintiff determined Patient C required

19            emergency surgery to remove Patient C's dead bowel, thereby removing the

20            cause of Patient C's hyperkalemia.

21         136.Plaintiff was prevented from taking Patient C to the OR exigently because the

22            OR had no available rooms or staff to perform an emergent operation. The

23            standard of care for the treatment of ischemic bowel, which is causing acidosis,

24            hyperkalemia, and sepsis, is to expeditiously remove the ischemic bowel.

25            Removal of ischemic bowel requires emergency surgery. The only way for

26            Plaintiff to effectively address Patient C's acidosis, hyperkalemia, instability,


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                       hernia, and sepsis was for the Plaintiff to take Patient C to the OR for
 2
                       emergency surgery.
 3
                 137.As previously stated, the Plaintiff was prevented from taking Patient C to the
 4
                       OR expeditiously and providing the standard of care, which was immediate
 5
                       surgery to remove Patient C's dead bowel.
 6
                 I 38.0MB alleges that Plaintiff provided Patient D with deep venous prophylaxis of
 7
                       heparin prior to Patient D's surgery, which was a laparoscopic appendectomy.
 8                     Because Plaintiff ordered Patient D DVT prophylaxis, Plaintiff placed Patient D
 9                    at risk of bleeding.
10               139.Patient D was a 28 yo female on oral contraception ofYaz, who had a BMI of
II                     34.5, and would be undergoing surgery with decreased mobility for the next
12                    few days. (See Exhibit UU - MAR for Patient D and Exhibit VY - Yitai Signs.)
13   drospirenone-.thinyl estradiol (VAZ) 3--0.02 MG Oral Tablet {reconciled bv Borden. Karv L. CPhTon 616/2023 07451
      Instructions: Take 1 tablet by mouth daily .
      Entered by: Borden, Kary L, CPhT                                 Entered on : 6/6/2023
14    Start date: 5/1 2/2023

15
      Patient D's medical record from 6 Jun 2023.
16
     Last Kecor<led Vitals
17   Blood pressure (I) 128/90, pulse (I) 91, temperature 98.9 °F (37.2 °C), resp. rate 18, height 5' 4.5• (1 .638 m), weight 204 lb (92.5
     kg), SpO2 99 %.Body mass index is 34.48 kg/m 2 .
18

19    Patient D's Vital Signs from 5 Jun 2023.

                 140.Patient D's Padua Prediction Score for Risk of Venous Thromboembolism was
20
                       7. A Padua score of 7 indicates a high risk of venous thromboembolism and
21
                       pharmacologic prophylaxis was indicated.
22
                 141.Patient D did not receive heparin prior to surgery. The heparin that was
23
                       ordered was held for the patient's surgery. (See Exhibit WW - MAR Patient D.)
24

25

26


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 2

 3   Performed 06/06/23 Held        0 Units           Subcutaneous          Performed by: Yonally, Lucie, RN
     0845               Held for
     Documented:        procedure
 4   06/06/23 1033


 5
     Patient D's Medical Administration Record (MAR) for Heparin 6 Jun 2023 .
 6
               142.If Patient D received heparin DVT prophylaxis prior to surgery, and Patient D
 7
                    was at high risk of bleeding as 0MB alleges, why did not the surgeon who
 8
                    operated on Patient D order a type and screen for blood? 0MB chastised
 9
                    Plaintiff for not ordering a type and screen for Patient A, who was at high risk
10
                    of bleeding during surgery, yet 0MB did nothing to Patient D's surgeon who
11
                    did not order a type and screen, when 0MB alleges Patient D was at high risk
12
                    of bleeding.
13
               143 .OMB alleges that Plaintiff did not consent Patient A for blood transfusion prior
14                  to surgery. 0MB alleges that Plaintiff did not have the skills to perform Patient
15                  A's inguinal hernia repair. 0MB alleges that Plaintiff ordered and administered
16                  Golytely to Patient B prior to Patient B's surgery. 0MB alleges that the
17                  surgeon who performed Patient B's surgery found Golytely inside Patient B's
18                  abdomen. 0MB alleges that Plaintiff delayed taking Patient B to the OR.
19                  0MB alleges that Plaintiff mismanaged Patient C's treatment and did not
20                  address Patient C's acidosis, hyperkalemia, or sepsis. 0MB further alleges
21                  Plaintiff delayed operating on Patient C. Finally, 0MB alleges that Plaintiff
22                  ordered DVT prophylaxis for Patient D, who did not need DVT prophylaxis,

23                  and that Plaintiff administered DVT prophylaxis prior to Patient D's surgery,

24                  which placed Patient D at risk of bleeding.

25             144.The facts from the medical record show Patient A was consented for blood

26                  transfusion. Dr. Allison harassed Plaintiff and forced Plaintiff to abandon

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              Patient A. The medical records show Plaintiff did not order Golytely for
 2
              Patient B, and that Patient B received no Golytely prior to surgery. The medical
 3
              records show that no Golytely was found in Patient B's abdomen. The facts
 4
              show that Plaintiff could not effectively manage Patient C 's medical condition
 5
              because the treatment for Patient C's medical problems were exigent surgery,
 6
              and Plaintiff was prevented from taking Patient C to the OR expeditiously.
 7
              Finally, the facts show Patient D was at high risk for DVT and required
 8
              pharmacologic DVT prophylaxis. Additionally, the medical record shows
 9
              Patient D did not received DVT prophylaxis prior to surgery.
10         145.In OMB 's Notice of Proposed Disciplinary Action, the 0MB continuously
11            alleges "A reasonably prudent, careful , and skilled surgeon ... " In tort law the
12            standard for negligence is when actions of one person are determined to fall
13            below standard of what a "reasonably prudent person" would do. That is not
14            the case for medicine. In medicine negligence is determined when the actions
15            of a physician fall below the standard of care. Therefore, a physician's actions
16            are compared to the standard of care and not a "reasonably prudent, careful, and
17            skilled surgeon." In order, to show that a physician 's action fell below the

18            standard of care, the 0MB has to show exactly what the standard of care was,

19            and how the Plaintiff's actions did not comport with the standard of care.

20         146.Applying the "reasonably prudent, careful and skilled surgeon" standard is the

21            incorrect standard. The 0MB must show how the Plaintiff did not meet the

22            standard of care. Because the 0MB has not shown any violation of the

23            standard of care in its Notice of Proposed Disciplinary Action, the entire Notice

24            of Proposed Disciplinary action must be declared void with no legal effect.

25

26


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           147.The 0MB submitted false allegations in a Notice of Proposed Disciplinary
 2
              Action to injure Plaintiff. Submitting false allegations is a violation of
 3
              Plaintiff's Constitutional 14 th Amendment protection of Due Process.
 4
           148.The State cannot manufacture allegations and submit the manufactured
 5
              allegations for adjudication. Complaints by the state alleging violation of laws
 6
              by citizens shall not be presented for an improper purpose. The claims and legal
 7
              contentions must warranted with factual contentions, which have evidentiary
 8            support, and that denials of factual contentions are warranted. The OMB's
 9            Notice of Proposed Disciplinary Action does not contain legally warranted
10            contentions. The allegations in the Notice of Proposed Disciplinary Action do
11            not have evidentiary support, and the allegations are being presented for an
12            improper purpose.
13         149.The OMB 's Notice of Proposed Disciplinary Action also violates ORS 31.230
14            - Wrongful Use of Civil Proceeding. The OMB 's Notice of Proposed
15            Disciplinary Action is extortion. The 0MB manufactured false allegations,
16            filed the false allegations, and then offered to enter settlement with the Plaintiff
17            for $ l 0,000 to settle the false allegations.

18         150.Extortion is the practice of obtaining benefits, usually pecuniary, through

19            coercion. The 0MB manufactured false allegations against Plaintiff and

20            threatened to revoke Plaintiff's medical license. The 0MB offered to settle the

21            manufactured allegations against Plaintiff, if Plaintiff agreed to pay $10,000 to

22            0MB. The 0MB threatened Plaintiff with false allegations and coercion, for

23            the benefit of obtaining $10,000. This is Wrongful Use of a Civil Proceeding.

24         151.The OMB 's Notice of Proposed Disciplinary Action is arbitrary and capricious.

25            The 0MB used the wrong standard to allege the Plaintiff injured patients. The

26            0MB did not judge the Plaintiff's actions against the standard of care. Instead,


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               the 0MB judged the Plaintiff's actions against a "reasonably prudent, careful,
 2
               and skilled surgeon", who the 0MB employed and whose salary is predicated
 3
               on doing what the 0MB orders. The 0MB only judged the Plaintiff's actions
 4
               and did not look at the actions of other physicians treating Patients A, B, C, and
 5
               D. Using the OMB's own logic, physicians treating Patients A, B, C, and D,
 6
               did not act as a "reasonably prudent, careful, and skilled surgeon." Yet, the
 7
               0MB took no disciplinary actions against any of the other physicians treating
 8
               Patient A, B, C, or D. Physicians are a group of individuals for which the 0MB
 9
               issues licenses to practice medicine. The 0MB treated the Plaintiff differently
10             than other similarly situated physicians.
11         152. The 0MB 's disparate treatment of the Plaintiff, compared to other physicians
12             treating Patients A, B, C, and D, violated Plaintiff's Constitutional 14th
13             Amendment right of Equal Protection of the laws.
14         153.Violation of Plaintiff's U.S. Constitution 14th Amendment Right of Equal
15             Protection violates 42 U.S.C. § 1983.
16         154.Monroe v. Pape, 365 U.S. 167 (1961) held that state officers who violated
17             Plaintiff's Constitutional Rights can be sued under 42 U.S.C. § 1983.
18         155.Because ofOMB 's violation of 42 U:S.C. § 1983, Plaintiff has been damaged

19             in an amount to be proven at trial.

20

21
         Violation of 42 U.S. C. § 1983 - Violation of U.S. Constitution 14th Amendment Due
22       Process. Offered to show motive, opportunity, intent, plan, absence of mistake, and
                                           lack of accident.
23
                          (Against 0MB and Ms. Nicole Krishnaswami)
24
           156.Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as
25
               though fully set forth herein.
26
           157.On 5 Sept 2018, Plaintiff received a Notice of Civil Penalty from the 0MB .

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           158.The Notice of Civil Penalty was issued because the Plaintiff answered a
 2
              question on the OMBApplication for Medical Licensure incorrectly.
 3
           159.The 0MB alleged that Plaintiff violated OAR 847-008-0058, Fraud or
 4
              Misrepresentation Regulations.
 5
           160.Black's Law Dictionary defines Fraud as deceit in transactions, perjury during
 6
              a trial , forgery, or bribing a witness.
 7
           161.Black's Law Dictionary defines Misrepresentation as fraudulent artifice, or
 8            device used by one or more persons to deceive or trick another.
 9         162.Black's Law Dictionary defines Mistake as an unintentional act, omission, or
10            error arising from ignorance, surprise, imposition, or misplaced confidence.
11         163.Both Fraud and Misrepresentation require criminal intent to complete the act.
12         164.OAR 847-008-0058 proscribes Fraud or Misrepresentation.
13         165.OAR 847-008-0058 does not proscribe Mistake.
14         166.0MB found Plaintiff violated OAR 847-008-0058 without showing that
15            Plaintiff intended to commit fraud or misrepresentation.
16         167.Plaintiff made a mistake when completing the Oregon Application for Medical
17            License.
18         168.In its response to Plaintiff's motion to dismiss civil penalty, on 12 Sept 2018

19            the 0MB stated, "As it stands, the Board has received information that you

20            answered the application question incorrectly." The 0MB admitted that

21            Plaintiff made a mistake by incorrectly answering an application question.

22         169.0MB admits Plaintiff made a mistake on his application, but fined Plaintiff for

23            Fraud or Misrepresentation without proving Plaintiff intended to commit Fraud

24            or Misrepresentation.

25         170.0MB failed to show Plaintiff had the requisite Mens Rea for violation of OAR

26            847-008-0058.


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           171.Intent is an element of Fraud or Misrepresentation.
 2
           172.0MB fined the Plaintiff $195 .00 for committing Fraud or Misrepresentation
 3
              when completing his application for Oregon Medical License.
 4
           173.Furthermore, the 0MB stated, " Should the outcome of the hearing not be
 5
              found in your favor, you may be responsible for the cost of the hearing,
 6
              including the civil penalty."
 7
           I 74.Had the Plaintiff requested a hearing with the State of Oregon, an
 8
              administrative law j udge would be the tribunal. The administrative law judge is
 9            under the executive branch and not the judicial branch.
10         175.If the Plaintiff was found culpable by the tribunal, the Plaintiff would be
11            responsible for the cost of the hearing and required to pay the Executive Branch
12            of the State of Oregon the cost of the hearing and civil fine.
13         176.Under that rubric, the State of Oregon, executive branch, makes money when
14            the Plaintiff loses.
15         177.How is the tribunal unbiased if the tribunal, a member of the Executive
16            Branch, receives renumeration when the Plaintiff loses?
17         178.There would be a financial incentive for administrative law judges, in the

18            Executive, to ru le in favor of the State of Oregon, so Plaintiffs would have to

19            pay for appeals hearings.

20         179.This would be a violation of the Due Process Clause of the U.S. Constitution 's

21            ] 4th Amendment.

22         180.Violation of Plaintiff's U.S. Constitution 14th Amendment Right of Due

23            Process violates 42 U.S.C. § 1983 .

24         181.Monroe v. Pape, 365 U.S. 167 (1961) held that state officers who violated

25            Plaintiff's Constitutional Rights can be sued under 42 U.S .C. § 1983.

26


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           182.Plaintiff admits that the 0MB 's Notice of Civil Penalty incident occurred in
 2
               2018, so the statute of limitations regarding the Notice of Civil Penalty
 3
               violating the Plaintiff's Civil Rights tolled. Plaintiff includes the Notice of
 4
               Civil Penalty in his Complaint to show that the case relates to the OMB's
 5
               actions of manufacturing allegations for pecuniary gain . The         otice of Civil
 6
               Penalty allegation is included to show motive, opportunity, intent, plan, absence
 7
               of mistake, and lack of accident. The 0MB intentionally alleges physicians
 8
               violate Oregon Revised Statutes for the purpose of fining physicians in order to
 9             make money.
IO         183.0MB and Ms. Nicole Krishnaswami are jointly and severally responsible for
11             OMB's actions
12         184.The Court should issue a declaratory judgment declaring that Defendant's
13             action constitutes illegal violations of 42 U.S.C. § 1983.
14         185.The Court should also issue a permanent injunction appointing a Special
15             Master to observe all 0MB investigations and punitive actions for 5 years,
16             funded by the 0MB. The Special Master will ensure the 0MB is providing due
17             process in all investigative and punitive actions.

18         186.The Court should issue a Writ of Mandamus directing the U.S. Department of

19            Justice Public Integrity Unit to investigate the actions of the 0MB. lssuing fines

20            to applicants through artifice of manufactured violations for the purpose of

21             increasing the 0MB 's revenue is unethical, illegal, and possibly violates 18

22            U.S .C. §1963 Racketeer Influenced and Corrupt Organizations.

23
                                     Fourth Cause ofAction:
24

25     Violation of 42 U.S.C. § 1983- Violation of U.S. Constitution 14th Amendment Due
26                       Process, Retaliation - (Against All Defendants)


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           187 .Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as
 2
              though fully set forth herein.
 3
           188.For retaliation, the evidence must_ show that Plaintiff engaged in protected
 4
              activity of which the 0MB was aware.
 5
           189.The evidence must show the 0MB took a significant adverse action against the
 6
              Plaintiff.
 7
           190.The evidence must show a causal connection exists between the Plaintiff's
 8
              protected activity and the OMB 's adverse action.
 9         191 .Plaintiff informed 0MB that the 0MB was violating the Plaintiff's U.S.
10            Constitutional right of Due Process. See Exhibit NN (E-mail to Walter Fraiser).
11         192. Without interviewing the Plaintiff, or completing its investigation, the 0MB
12            ordered Plaintiff to undergo Competence Evaluation and Acumen Assessments.
13         193 .The Plaintiff was responsible for the costs of both the Competency Evaluation
14            and Acumen Assessment, which would cost over $10,000.00.
15         194.The 0MB ordered both Competency Evaluation and Acumen Assessment in
16            response to Plaintiff complaining that the 0MB was violating the Plaintiff's
17            U.S . Constitutional 141h Amendment Right of Due Process.
18         195.OMB 's retaliation against Plaintiff violates Plaintiff's Constitutional 14th

19            Amendment Right of Due Process 42 U.S .C §1983.

20         l 96.Monroe v. Pape, 365 U.S . 167 (1961) held that state officers who violated

21            Plaintiff's Constitutional Rights can be sued under 42 U.S.C. § 1983.

22         197.Because of OMB 's violation of 42 U.S.C. § 1983 , Plaintiff has been damaged

23            in an amount to be proven at trial.

24         198.Each of the Defendants is jointly and severally liable for Plaintiff's damages.

25         199.The Court should issue a declaratory judgment finding that Defendant's action

26            constitutes violations of 42 U.S .C. § 1983.


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           200.The Court should issue a preliminary injunction preventing the OMB's
 2
               investigation into Plaintiff from progressing until the instant case has been
 3
              adjudicated.
 4
           201.The Court should also issue a permanent injunction appointing a Special
 5
              Master to observe all 0MB investigations and punitive actions for 5 years,
 6
              funded by the 0MB. The Special Master will ensure the 0MB is providing due
 7
               process in all investigative and punitive actions.
 8
 9                                     Fifth Cause ofAction:
10                           Intentional Infliction of Emotional Distress
11                                    (Against All Defendants)
12         202.Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as
13            though fully set forth herein.
14         203 .Defendants engaged in extreme and outrageous conduct by violating Plaintiff's
15            U.S . Constitutional Rights .
16         204.Defendants were aware of Plaintiff's U.S. Constitutional Rights, and they
17             intentionally violated them, and retaliated against the Plaintiff for attempting to

18            assert his U.S. Constitutional Rights.

19         205 .Defendants have engaged in bad faith and have conspired against Plaintiff with

20            the purpose of excluding him from practicing in his chosen career.

21         206.Defendants ' conduct has caused Plaintiff extreme emotional distress, and he

22            has been damaged in an amount to be proven at trial.

23         207.Defendants are jointly and severally liable for the damages Plaintiff has

24            suffered because of their intentional infliction of emotional distress.

25
                                       Sixth Cause ofAction:
26
                             Negligent Infliction of Emotional Distress

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                                        (Against All Defendants)
 2
            208.Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as
 3
                though fully set forth herein.
 4
            209.Defendants engaged in conduct they knew or should have known would
 5
     cause Plaintiff distress when they violated his U.S. Constitutional Rights, retaliated against
 6
     him, and conspired to exclude him from practicing medicine in the State of Oregon.
 7
            21 0.Defendants were aware of Plaintiff's claims when he made Walter Fraiser
 8
                aware in an e-mail sent to Mr. Fraiser on 4 Oct 2023 .
 9          211.Defendants have engaged in bad faith and have conspired against Plaintiff with
10              the purpose of excluding him from practicing in his chosen career.
11          212.Defendants' actions caused Plaintiff extreme emotional distress, and he has
12              been damaged in an amount to be proven at trial.
13          213 .Defendants are jointly and severally liable for all the damages Plaintiff has
14              suffered because of their negligent infliction of emotional distress.
15

16                           Sixth Cause ofAction: Declaratory Judgment

17                                29 U.S.C. §§2201-2202; FRCP 57

18                                          (Against All Defendants)

19          214.Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as

20              though fully set forth herein.

21          215.The Declaratory Judgment Act and FRCP 57 provide a remedy for ongoing

22              statutory violations.

23          216.Declaratory Judgement that 0MB has discriminated against Plaintiff and

24              violated 42 U.S .C §1983.

25

26

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           217.Declaratory Judgement that Defendants have engaged in retaliation to jointly
 2
              thwart efforts by Plaintiff to request due process with respect to investigations
 3
              and punitive actions against him by defendants.
 4
           218.Declaratory judgement that it is unlawful for Defendants to violate the U.S .
 5
               Constitutional Rights of applicants to the 0MB and licensees of the 0MB.
 6
           219.The Court should also declare that 0MB must issue the same medical licenses
 7
               it issues to physicians who are residents of Oregon to physicians who are
 8             residents of other states.
 9         220.Additionally, the Court should declare that the 0MB cannot recoup costs for
10             hearings, which applicants and licensees request, for adjudication of punitive
11             actions brought by the 0MB.
12
                                Seventh Cause ofAction: Injunctive Relief
13
                                                   FRCP65
14
                                            (Against All Defendants)
15
           22 l .Plaintiff re-alleges the facts as set forth in paragraphs 1-51 of his Complaint as
16
              though fully set forth herein.
17
           222.The Court should issue a temporary restraining order, while hearing for
18

19
               preliminary injunction is scheduled,   iohalt investigation into the complaint
               against Plaintiff by the Defendants, until Plaintiff's case has been fully
20
               adjudicated by the Court.
21
           223.The Court should issue a temporary restraining order, while hearing for
22
              preliminary injunction is scheduled, to re-activate Plaintiff's Oregon Medical
23
              License.
24
           224.The Court should appoint a Special Master to monitor the 0MB.
25
           225.The Special Master would be in place for a minimum of five years.
26
           226.The Special Master shall be paid for by the 0MB.

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 1
               227.The Special Master shall oversee all investigations and punitive actions by the
 2
                    0MB.
 3
               228.The Special Master shall ensure that the 0MB is affording Due Process and
 4
                    Equal Protection of the laws for individuals being investigated or receiving
 5
                    punitive action by the 0MB.
 6
               229.The Special Master shall ensure that the 0MB is not retaliating against
 7
                    applicants or licensees who bring forth concerns of due process or equal
 8
                    protection.
 9
               230.The Special Master shall have the power to overturn 0MB decisions that
10                  violate due process, violate equal protection of the laws, or are retaliatory.
11             231.The Special Master shall have the ability to levy pecuniary penalties against
12                  the 0MB for violations of due process, violations of equal protection of the
13                  laws, or retaliatory actions.
14                                        JURY TRIAL DEMAND
15   298.      Pursuant to Fed. R. Civ. Pro. 38(6), Plaintiff demands a jury trial.
16

17                                         PRAYER FOR RELIEF

18       Having plead his claims under federal law, Plaintiff prays for the following

19   relief:

20             1.   An award of monetary damages, compensatory damages, and punitive

21                  damages, for vio lation of Plaintiff's U.S. Constitutional Rights against all

22                  Defendants, jointly and several ly, and in favor of Plaintiff in an amount to be

23                  proven at trial.

24             2. An award of monetary damages, compensatory damages, and punitive

25                  damages, for retaliation against all Defendants, jointly and severally, and in

26                  favor of Plaintiff in an amount to be proven at trial.


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           3. An award of monetary damages, compensatory damages, and punitive
 2
              damages, for Wrongful Use of Civil Proceeding against all Defendants, jointly
 3
              and severally, and in favor of Plaintiff in an amount to be proven at trial.
 4
           4. An award of monetary damages for intentional and/or negligent infliction of
 5
              emotional distress against all Defendants, jointly and severally, and in favor of
 6
              Plaintiff in an amount to be proven at trial.
 7
           5. An injunction prohibiting 0MB from any further violation of applicants' or
 8
              licensees' U.S. Constitutional Rights, and a Special Master appointed to oversee
 9            that 0MB is respecting applicants' and licensees' U.S. Constitutional Rights.
10         6. An injunction prohibiting the 0MB from collecting hearing costs from any
11            applicant or licensee that chooses to have a hearing regarding punitive actions
12            against them taken by the 0MB.
13         7. An injunction requiring 0MB to issue the same Oregon Medical License to out
14            of state residents as the 0MB issues to Oregon residents .
15         8. A preliminary injunction restraining Defendants from pursuing the current
16            investigation into Plaintiff until the instant case has fully adjud icated.
17         9. A Writ of Mandamus directing the U.S. Department of Justice, Public Integrity
18            Division, to investigate Defendants to determine if 0MB fined applicants for

19            mistakes on 0MB applications for licensure solely to increase 0MB revenue.

20         10. A Writ of Mandamus directing the Oregon State Bar to investigate Ms. Nicole

21            Krishnaswami , JD, for unethical conduct and violation of her Oregon State Bar

22            oath to uphold and defend the U.S. Constitution, when Ms. Krishnaswami

23            submitted false allegations regarding Plaintiff in the 0MB 's Notice of Proposed

24            Disciplinary Action. Ms. Krishnaswami violated her Oregon State Bar Oath

25            when she condoned the OMB 's practice of violating Applicants and Licenses'

26            U.S. Constitutional Rights .


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            11. Declaratory Judgment that Defendants have been violating the U.S.
 2
                Constitutional Rights of 0MB applicants and licensees.
 3
            12. Declaratory Judgment that it is unlawful and discriminatory for Defendants to
 4
                retaliate against applicants or licensees who uphold their U.S. Constitutional
 5
                Rights.
 6
            13. An award of attorney 's fees and costs; and
 7
            14. Such other relief as available under the statutes and/or the Court deems just
 8   and equitable.
 9

IO

11          DATED THIS 25 th DAY OF JUNE 2025.
12

13

14

15

16                                                        Dr. Jeremy Conklin, D.O., J.D
17                                                        Attorney for Plaintiff,
18                                                        Dr. Jeremy Conklin, D. 0.

19

20

21                                                        Jeremy Conklin, WSBA No. 59956

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 1
     CERTIFICATE OF SERVICE
 2
            I hereby certify that on the date below, I caused the foregoing document to be filed
 3
     using CM/ECF, which will transmit the same to all counsel of record . Any parties not
 4
     served via CM/ECF will be served in accordance with the Federal Rules of Civil
 5
     Procedure.
 6

 7

 8
     DATED: Jun 25, 2025
 9                                                       Jeremy Conklin, WSBA #59956
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 1

 2
                                       Exhibit AA
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